Case 2:05-cr-20148-.]DB Document 29 Filed 07/01/05 Page 1 of 2 PagelD 32

 

lN THE uNiTED sTATEs DlsTFucT couar am av__, _________M
Fon THE wEsTEaN oisTFucT oF TENNEssEE ‘
wEsTEFiN DlvlsloN US.RH. -l Al'l ‘l= 57
THOtMSM, uOl"‘ 19
uNiTED sTATEs oF AMERch CLB*%U.S. DlSlRlctOotm
W OF itt M£MPHS

Plaintiff

VS.
CFt. NO. 05-20148-5

GlNGEFt SWEETEN

Defendant.

 

OFtDEFt ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a suppression hearing and report date on June 23, 2005.
At that time, counsel for the defendant requested a continuance of the July 5, 2005 trial
date in order to allow for additional preparation in the case.

The Court granted the request and reset the trial date to October 3, 2005 with a
re ort date of Monda Se tember 26 2005 at 9:30 a.m., in Courtroom 1. 11th F|oor

 

of the Federal Bui|ding, Memphis, TN.
The period from Ju|y 15, 2005 through October 14, 2005 is excludable under 18
U.S.C. § 3161 (h)(8)(B)(iv) because the ends ofjustice served in allowing for additional time

to prepare outweigh the need for a séieedy trial.
lT lS SO ORDERED this 29 day e, 2005.

 

J. AN| LBREEN
|TE STATES DlSTFtICT JUDGE

 
  
 

this document entered on the docket shea

with Hur`e 55 and/or 32(b) FHCrP on

         
 

UNITED sTATE onlle COURT - WESTRNE D's'TRCT oFTENNESSEE

  

Notice of Distribution

This notice confirms a copy of the document docketed as number 29 in
case 2:05-CR-20148 Was distributed by faX, mail, or direct printing on
July 5, 2005 to the parties listed.

 

 

David Charles Henry

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Michael J. Stengel
STENGEL LAW FIRM
50 North Front Street

Ste. 850

Memphis7 TN 38103--111

Honorable J. Breen
US DISTRICT COURT

